   Case: 1:20-cv-00512 Document #: 46-2 Filed: 04/27/20 Page 1 of 3 PageID #:274




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 DAVID MUTNICK, for himself and others                 )
 similarly situated,                                   )
                                                       )   Case No. 20 C 512
                   Plaintiff,                          )
                                                       )
            v.                                         )   Judge Sharon Johnson Coleman
                                                       )
                                                       )   Magistrate Judge Maria Valdez
  CLEARVIEW AI, INC.; HOAN TON-THAT;                   )
  RICHARD SCHWARTZ; and CDW                            )
  GOVERNMENT LLC                                       )
                   Defendants.

  ANTHONY HALL, on behalf of himself and               )
  all others similarly situated,                       )
                                                       )   Case No. 20 C 846
                    Plaintiff,                         )
                                                       )
            v.                                         )   Judge Sharon Johnson Coleman
                                                       )
  CDW GOVERNMENT LLC, and                              )   Magistrate Judge Jeffrey Cummings
  CLEARVIEW AI, INC.,                                  )
                                                       )
                           Defendants.                 )


                          DECLARATION OF RICHARD SCHWARTZ

I, Richard Schwartz, hereby declare:

       1.        I am the President of Clearview AI, Inc. (“Clearview”). My current responsibilities

at Clearview include managing sales. I have personal knowledge of the facts described below, and

if called as a witness, could and would testify competently thereto.

       2.        I am a resident of New York. I serve as the primary caregiver to a close relative

who has a serious medical condition. Due to this commitment, I infrequently leave New York.

       3.        I do not reside, pay taxes, or own any property in Illinois. I do not have an Illinois

driver’s license or an Illinois bank account. I have not traveled to Illinois in the past five years.



                                                   1
   Case: 1:20-cv-00512 Document #: 46-2 Filed: 04/27/20 Page 2 of 3 PageID #:275




        4.      I have never traveled to Illinois to conduct Clearview business.

        5.      Clearview is a Delaware corporation with its headquarters and principal place of

business in New York.

        6.      Clearview is a technology company that collects publicly available images on the

internet and organizes them into a searchable database, which can then be searched on an app by

licensed users. Clearview does not share biometric information with its users.

        7.      Clearview’s technology searches the “open web” and public sources for image files,

and downloads the files and webpage URL into a database. Anyone with internet capability is

able to access the files that Clearview collects for use in its database. The images collected by

Clearview were accessible to Clearview from its place of business in New York.

        8.      Clearview has eight full-time employees, the majority of whom work in New York,

and none of whom are in Illinois.

        9.      The servers hosting the data necessary for Clearview’s business are located in New

York. Some of Clearview’s servers are also located in New Jersey. The publicly available images

collected by Clearview are stored on these servers.

        10.     Clearview has no employees, real estate, servers, facilities, or offices in Illinois, nor

is it registered to do business in Illinois.

        11.     Clearview does not target Illinois through advertising and marketing or the use of

sales and service representatives. Clearview’s services and app are marketed and available

nationwide.

        12.     Litigation is pending against Clearview in the U.S. District Court for the Southern

District of New York, including the cases Calderon v. Clearview AI, Inc., Burke v. Clearview AI,




                                                   2
Case: 1:20-cv-00512 Document #: 46-2 Filed: 04/27/20 Page 3 of 3 PageID #:276
